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5                                UNITED STATES DISTRICT COURT
6                             SOUTHERN DISTRICT OF CALIFORNIA
7                                (HONORABLE LARRY A. BURNS)
8
     UNITED STATES OF AMERICA,        )            Case: 06CR1515-LAB
9                                     )
      Plaintiff,                      )            ORDER
10                                    )
     v.                               )
11                                    )
      WAYNE HUDSON,                   )
12                                    )
       Defendant.                     )
13    _______________________________)
14                GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that the monies deposited
15   with the United States District Court for the Bond of WAYNE HUDSON (hereinafter “Mr.
16   HUDSON”), the Defendant in the above-referenced case, be returned to Mr. HUDSON. The
17   monies paid to the United States District Court included $40,000 (forty-thousand dollars)
18   deposited by Juliana M. Kremer and $85,000 (eighty-five-thousand dollars) deposited by Mr.
19   HUDSON, for a total bond amount of $125,000 (one-hundred-twenty-five-thousand dollars) . As
20   Mr. HUDSON has already paid to Juliana M. Kremer $40,000 (forty-thousand dollars) as
21   repayment for the monies she deposited with the United States District Court for Mr. HUDSON’s
22   bond, it is hereby ordered that the full bond amount of $125,000 (one-hundred-twenty-five-
23   thousand dollars) plus any accrued interest be returned to Mr. HUDSON.
24                IT IS SO ORDERED.
25    DATED: March 5, 2007
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27                                                 HONORABLE LARRY ALAN BURNS
                                                   United States District Judge
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